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                                                                           USDC SDNY
UNITED STATES DISTRICT COURT                                               DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                              ELECTRONICALLY FILED
 ---------------------------------------------------------------- X        DOC #: _________________
                                                                  :        DATE FILED: 2/13/19
 LUCY LUGO,                                                       :
                                                                  :
                                                 Plaintiff,       :      1:19-cv-1059-GHW
                                                                  :
                              -against-                           :     ORDER GRANTING
                                                                  :     IFP APPLICATION
 NANCY A. BERRYHILL, Acting Commissioner of :
 Social Security,                                                 :
                                                                  :
                                                 Defendant. :
                                                                  :
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GREGORY H. WOODS, District Judge:

         Leave to proceed in this Court without prepayment of fees is authorized. See 28 U.S.C.

§ 1915. The Clerk of Court is directed to terminate the motion pending at Dkt. No. 7.

         SO ORDERED.


 Dated: February 13, 2019                                     _____________________________________
 New York, New York                                                    GREGORY H. WOODS
                                                                      United States District Judge
